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 1                                                   NOTE: CHANGES MADE BY COURT
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                                                                    JS-6
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 8
                                IN THE UNITED STATES DISTRICT
 9
                   FOR THE CENTRAL COURT DISTRICT OF CALIFORNIA
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11
       Inez Anderson,                                Case No. 2:22-cv-05122-FWS-MAA
12
                   Plaintiff,
13                                                   ORDER RE STIPULATION OF
             v.                                      DISMISSAL WITH PREJUDICE [29]
14
15
       Experian Information Solutions, Inc., and
16     Water and Power Community Credit
       Union,
17
                   Defendants.
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     Case 2:22-cv-05122-FWS-MAA Document 30 Filed 08/11/23 Page 2 of 2 Page ID #:120




 1
             Having reviewed and considered the Stipulation of Dismissal with Prejudice [29]
 2
       (the “Stipulation”), and good cause appearing, the court GRANTS the Stipulation and
 3
       ORDERS the following:
 4
 5
             The above-captioned action is DISMISSED WITH PREJUDICE in its entirety
 6
             as to all parties and all claims for relief, with each party bearing that party’s own
 7
             costs and attorney’s fees.
 8
 9           IT IS SO ORDERED.
10
11     Dated: August 11, 2023                      ______________________________
12                                                 Hon. Fred W. Slaughter
                                                   UNITED STATES DISTRICT JUDGE
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